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     2020 NHF x JD
     Sports Holiday
     Kicks Virtual
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     Shopping Spree

     NHF collaborated with JD Sports for the Holiday Kicks
     Virtual Shopping Spree in Atlanta, Georgia. Recipients
     of the shopping spree were members of the Salvation
                                                                                                          #:646




     Army Bellwood Boys & Girls Club of Atlanta. The
     purpose of organizing a virtual shopping spree was
     to provide less fortunate kids with an opportunity to
     experience the joy of shopping for new items
     while meeting their basic needs and boosting
     their self-esteem.
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                                                                       IMPACT:

                                                              Served 100 kids with new shoes
                                                                   and sporting apparel.


                                                                              Estimated
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                                                              $20k            in-kind value



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 Shows that producer received the song at 5:39 pm.




 Shows that the file was edited at 6:33/6:34.
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 Shows the total time of session was 1:32-7:21 pm when file was finalized.
